                Case 3:07-cr-05042-RBL        Document 31       Filed 04/12/07      Page 1 of 1



 1
 2
 3              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5      UNITED STATES OF AMERICA,
 6                                                       Case No. CR07-5042RBL
                              Plaintiff,
 7                                                       INITIALORDER RE: ALLEGATIONS
                       v.                                OF VIOLATION OF CONDITIONS
 8                                                       OF SUPERVISION BY UNITED
        JOSHUA MCCELLAND,                                STATES PRETRIAL SERVICES
 9                            Defendant.
10
11
12   THIS MATTER comes on for hearing on the Petition of the United States Pretrial Services Office
     Office alleging that the defendant has violated the conditions of the Appearance Bond supervision as
13   set forth in the Petition filed by U.S. Pretrial Services, SPECIFICALLY: (1) FAILING TO ATTEND
     SUBSTANCE ABUSE TREATMENT March 8, 13, and 20, 2007; and (2) using marijuanna on or
14   before March 22, 2007.

15   The plaintiff appears through Special Assistant United States Attorney, TATE LONDON;
     The defendant appears personally and represented by counsel, RUSSELL LEONARD;
16   The defendant has been advised of the allegation(s)and that he/she could be detained pending
17   resolution of the underlying charges in the Complaint/Indictment/ or Information if found to be in
     violation; maximum potential sanction if substantiated; and
18   The defendant freely and voluntarily acknowledged both violations this dateas above set forth
19   The court finding probable cause with regard to the allegation(s); the matter is scheduled for a
20   disposition hearing on the following time and date before the Honorable J KELLEY ARNOLD.

21                          Date: JUNE 19, 2007

22                          Time: 2:30 P.M.

23   ( X ) Defendant is released pending the above scheduled hearing, on his Appearance Bond with the
     condition that he be in full compliance with the Bond conditions.
24   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
25   the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.

26                                                        April 12, 2007.
                                                          /s/ J. Kelley Arnold _________________
27                                                        J. Kelley Arnold, U.S. Magistrate Judge

28


     ORDER
     Page - 1
